    Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 1 of 36



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ROYAL PARK INVESTMENTS SA/NV,       X
                                    :
Individually and on Behalf of All Others
Similarly Situated,                 :
                                    :      Case No. 1:14-cv-09764-KPF-SN
              Plaintiffs,           :
                                    :
    -against-                       :
                                    :
WELLS FARGO BANK, N.A., as Trustee, :
                                    :
              Defendant.            :
                                    X

     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF ROYAL PARK
    INVESTMENTS SA/NV’S RULE 72 OBJECTION AND MOTION TO VACATE
         Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 2 of 36


                                                   TABLE OF CONTENTS

                                                                                                                                        Page


INTRODUCTION ......................................................................................................................... 1
ARGUMENT ................................................................................................................................. 2
          I.         JUDGE NETBURN CORRECTLY CONCLUDED THAT A CLASS
                     CANNOT BE CERTIFIED BECAUSE INDIVIDUAL ISSUES
                     PREDOMINATE ................................................................................................... 3
                     A.         Extensive Individual Inquiries Are Needed To Determine
                                Article III Standing .................................................................................... 3
                                1.         The need to prove standing individually defeats
                                           predominance ................................................................................. 7
                                2.         Trading records lack sufficient information to avoid
                                           individual inquiries, negating—not supporting—
                                           predominance ................................................................................. 8
                                3.         Questions of assignment of litigation rights are not
                                           hypothetical .................................................................................. 10
                     B.         Wells Fargo’s Statute of Limitations Defenses Are Highly
                                Individualized .......................................................................................... 11
                     C.         Royal Park Has Not Shown Injury, Causation, Or Damages
                                Classwide ................................................................................................. 14
                     D.         Liability Does Not Simply Turn On Whether Wells Fargo
                                “Breached” The Agreements, And The Issue Of Breach Does Not
                                Predominate ............................................................................................. 17
                     E.         Conflicts Among Class Members Further Defeat Predominance
                                And Adequacy ......................................................................................... 19
          II.        JUDGE NETBURN RIGHTLY FOUND SUPERIORITY WAS NOT
                     MET ..................................................................................................................... 21
          III.       JUDGE NETBURN’S R&R CAN ALSO BE ADOPTED ON OTHER
                     GROUNDS .......................................................................................................... 24
          IV.        A LIABILITY-ONLY CLASS CANNOT RESOLVE THE
                     INDIVIDUALIZED ISSUES AND WILL NOT MATERIALLY
                     ADVANCE THE LITIGATION ......................................................................... 24
CONCLUSION ............................................................................................................................ 25




                                                                       i
        Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 3 of 36



                                              TABLE OF AUTHORITIES


                                                                                                                            Page(s)
CASES

2138747 Ontario, Inc. v. Samsung C&T Corp.,
   144 A.D. 3d 122 (N.Y. App. Div. 2016) .................................................................................12

ACE Secs. Corp. v. DB Structured Prods., Inc.,
  36 N.E. 3d 623 (N.Y. 2015) .......................................................................................................4

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ...........................................................................................................11, 21

Arch v. Am. Tobacco Co., Inc.,
   175 F.R.D. 469 (E.D. Pa. 1997) ...............................................................................................23

Augustin v. Jablonsky,
   2001 WL 770839 (E.D.N.Y. Mar. 8, 2001) ...............................................................................8

Bd. of Trs. v. BNY Mellon,
    287 F.R.D. 216 (S.D.N.Y. 2012) .......................................................................................19, 24

Benner v. Becton Dickinson & Co.,
   214 F.R.D. 157 (S.D.N.Y. 2003) .......................................................................................23, 25

Bluebird Partners, L.P. v. First Fidelity Bank, N.A.,
   767 N.E. 2d 672 (N.Y. 2002) .....................................................................................................4

Bluebird Partners, LP v. First Fidelity Bank, N.A. N.J.,
   85 F.3d 970 (2d Cir. 1996).........................................................................................................9

Brecher v. Republic of Argentina,
   806 F.3d 22 (2d Cir. 2015).........................................................................................................5

Briseno v. ConAgra Foods, Inc.,
    844 F.3d 1121 (9th Cir. 2017) ...................................................................................................8

Broussard v. Meineke Disc. Muffler Shops, Inc.,
   155 F.3d 331 (4th Cir. 1998) ...................................................................................................19

Castano v. Am. Tobacco Co.,
   84 F.3d 734 (5th Cir. 1996) .....................................................................................................23

                                                                  ii
        Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 4 of 36


                                             TABLE OF AUTHORITIES
                                                   (continued)
                                                                                                                         Page(s)


Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) ...................................................................................................3, 15, 16, 17

Commerzbank AG v. Deutsche Bank,
  234 F. Supp. 3d 462 (S.D.N.Y. 2017)......................................................................................13

Denney v. Deutsche Bank AG,
   443 F.3d 253 (2d Cir. 2006).......................................................................................................4

DiPilato v. 7-Eleven, Inc.,
   662 F. Supp. 2d 333 (S.D.N.Y. 2009)..................................................................................3, 15

Duchardt v. Midland Nat’l Life Ins. Co.,
   265 F.R.D. 436 (S.D. Iowa 2009) ............................................................................................20

Ely Cruikshank Co. v. Bank of Montreal,
    615 N.E. 2d 985 (N.Y. 1993) .....................................................................................................4

Free World Foreign Cars, Inc. v. Alfa Romeo, S.p.A.,
   55 F.R.D. 26 (S.D.N.Y. 1972) .................................................................................................19

Freeland v. Iridium World Commc’ns, Ltd.,
   233 F.R.D. 40 (D.D.C. 2006).....................................................................................................8

Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith,
   903 F.2d 176 (2d Cir. 1990).....................................................................................................24

Global Fin. Corp. v. Triarc Corp.,
   715 N.E. 2d 482 (N.Y. 1999) ...................................................................................................12

Hamilton v. Accu-tek,
  935 F. Supp. 1307 (S.D.N.Y. 1996)...................................................................................24, 25

Hayes v. Wal-Mart Stores, Inc.,
   725 F.3d 349 (3d Cir. 2013).....................................................................................................24

Hickory Secs. Ltd. v. Rep. of Argentina,
   493 F. App’x 156 (2d Cir. 2012) .............................................................................................17




                                                           -iii-
        Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 5 of 36


                                             TABLE OF AUTHORITIES
                                                   (continued)
                                                                                                                         Page(s)


Hughes v. Ester C Co.,
   317 F.R.D. 333 (E.D.N.Y. 2016) .............................................................................................14

IKB Int’l S.A. v. Bank of Am.,
   2014 WL 1377801 (S.D.N.Y. Mar. 31, 2014) .........................................................................13

In re Consol. RNC Cases,
    2009 WL 130178 (S.D.N.Y. Jan. 8, 2009) ....................................................................3, 10, 22

In re Countrywide Fin. Corp. MBS Litig.,
    2014 WL 3529677 (C.D. Cal. July 14, 2014) ..........................................................................13

In re Fosamax Prods. Liab. Litig.,
    248 F.R.D. 389 (S.D.N.Y. 2008) .......................................................................................23, 25

In re MTBE Prods.,
    209 F.R.D. 323 (S.D.N.Y. 2002) .................................................................................21, 24, 25

In re Petrobras Secs. Litig.,
    862 F.3d 250 (2d Cir. 2017)...........................................................................................1, 3, 4, 8

In re Visa Check Antitrust Litig.,
    280 F.3d 124 (2d Cir. 2001).....................................................................................................21

In re Yasmin Mktg.,
    275 F.R.D. 270 (S.D. Ill. 2011) ...............................................................................................25

Jacob v. Duane Reade, Inc.,
   293 F.R.D. 578 (S.D.N.Y. 2013) .............................................................................................25

Johnson v. Nextel Commc’ns Inc.,
   780 F.3d 128 (2d Cir. 2015).............................................................................................3, 8, 23

Kanowitz v. Broadridge Fin. Sol., Inc.,
   2014 WL 1338370 (E.D.N.Y. Mar. 31, 2014) .........................................................................12

Langbecker v. Elec. Data Sys. Corp.,
   476 F.3d 299 (5th Cir. 2007) .........................................................................................9, 19, 21




                                                           -iv-
        Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 6 of 36


                                             TABLE OF AUTHORITIES
                                                   (continued)
                                                                                                                        Page(s)


Lazard Freres & Co. v. Prot. Life Ins. Co.,
   108 F.3d 1531 (2d Cir. 1997).....................................................................................................6

Lehman Bros. Holdings, Inc. v. Univ. Am. Mortg. Co., LLC,
   660 F. App’x 554 (10th Cir. 2016) ..........................................................................................12

Mazzei v. Money Store,
  829 F.3d 260 (2d Cir. 2016).....................................................................................................11

McLaughlin v. Am. Tobacco Co.,
  522 F.3d 215 (2d Cir. 2008)...................................................................................12, 14, 17, 25

Moskowitz v. La Suisse,
  282 F.R.D. 54 (S.D.N.Y. 2012) ...............................................................................................12

Myers v. Hertz Corp.,
   624 F.3d 537 (2d Cir. 2010)...........................................................................................8, 12, 18

N.J. Carpenters Health Fund v. Residential Capital, LLC,
    272 F.R.D. 160 (S.D.N.Y. 2011) .............................................................................................21

Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank,
   392 F.3d 520 (2d Cir. 2005).....................................................................................................18

Newton v. Merrill Lynch,
   259 F.3d 154 (3d Cir. 2001)...............................................................................................15, 23

PABF v. BNY Mellon,
  775 F.3d 154 (2d Cir. 2014)...........................................................................................8, 18, 19

Phoenix Light v. U.S. Bank,
   2015 WL 2359358 (S.D.N.Y. May 18, 2015) .......................................................................6, 7

Racepoint Partners, LLC v. JP Morgan Chase Bank,
   2006 WL 3044416 (S.D.N.Y. Oct. 26, 2006) ............................................................................4

Roach v. T.L. Cannon Corp.,
   778 F.3d 401 (2d Cir. 2015).....................................................................................................14




                                                           -v-
        Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 7 of 36


                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                              Page(s)


Royal Park v. BNY Mellon,
   2017 WL 3835339 (S.D.N.Y. Aug. 30, 2017) ...........................................................................1

Royal Park v. Deutsche Bank,
   2017 WL 1331288 (S.D.N.Y. Apr. 4, 2017).................................................................... passim

Royal Park v. HSBC,
   2018 WL 679495 (S.D.N.Y. Feb. 1, 2018) ...................................................................... passim

Ruiz v. Citibank, N.A.,
   2015 WL 4629444 (S.D.N.Y. Aug. 4, 2015) ...........................................................................15

Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc.,
   601 F.3d 1159 (11th Cir. 2010) ...............................................................................................19

Stoudt v. E.F. Hutton & Co., Inc.,
   121 F.R.D. 36 (S.D.N.Y. 1988) ...............................................................................................22

Toldy v. Fifth Third Mortg. Co.,
   2011 WL 4634154 (N.D. Ohio Sept. 30, 2011) .......................................................................25

Tyson Foods, Inc. v. Bouaphaekeo,
   136 S. Ct. 1036 (2016) .............................................................................................................11

U.S. v. Maldonado-Rivera,
   922 F.2d 934 (2d Cir. 1990).......................................................................................................3

UFCW Local 1776 v. Eli Lilly & Co.,
  620 F.3d 121 (2d Cir. 2010)...............................................................................................15, 18

United States v. Raddatz,
   447 U.S. 667 (1980) ...................................................................................................................3

Vaccariello v. XM Satellite Radio, Inc.,
   295 F.R.D. 62 (S.D.N.Y. 2013) .........................................................................................15, 18

Valley Drug Co. v. Geneva Pharms., Inc.,
   350 F.3d 1181 (11th Cir. 2003) .........................................................................................19, 20




                                                             -vi-
         Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 8 of 36


                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                   Page(s)


Vanwinkle v. U.S.,
   645 F.3d 365 (6th Cir. 2011) .....................................................................................................3

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) .......................................................................................................3, 12, 18

Weiner v. Snapple Bev. Corp.,
   2010 WL 3119452 (S.D.N.Y. Aug. 5, 2010) ...........................................................................16

Wu v. Pearson Educ., Inc.,
   2012 WL 6681701 (S.D.N.Y. Dec. 21, 2012) .........................................................................19

Yeatts v. Angelone,
   166 F.3d 255 (4th Cir. 1999) .....................................................................................................3

STATUTES & RULES

10 Del. C. § 8106 ...........................................................................................................................14

42 Pa. Cons. Stat. § 5525 ...............................................................................................................14

42 Pa. Cons. Stat. § 5524 ...............................................................................................................14

28 U.S.C. § 636(b)(1) ......................................................................................................................2

Cal. Civ. Proc. Code § 337 ............................................................................................................14

Fed. R. Civ. P. 23 ...........................................................................................................3, 14, 19, 22

Fla. Stat. § 95.11 ............................................................................................................................14

N.C. Gen. Stat. § 1-52 ....................................................................................................................14

N.Y. C.P.L.R. § 202 .......................................................................................................................12

N.Y. Gen. Oblig. Law § 13-107.......................................................................................4, 6, 10, 21

N.H. RSA § 508:4 ..........................................................................................................................14

Tex. Civ. Prac. & Rem. Code § 16.004 .........................................................................................14



                                                               -vii-
       Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 9 of 36


                                      TABLE OF AUTHORITIES
                                            (continued)
                                                                                                       Page(s)


OTHER AUTHORITIES

Wright & Miller, 15A Fed. Prac. & Proc. § 3901.1 (2d ed. 2017) ..................................................3




                                                   -ii-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 10 of 36



                                        INTRODUCTION

       Far from being “virtually unprecedented,” RP Br. at 1, Judge Netburn’s R&R joins four

other judges in this district who have, consistently, denied class certification to Royal Park and

other plaintiffs in RMBS trustee cases like this one. Royal Park v. HSBC, 2018 WL 679495

(S.D.N.Y. Feb. 1, 2018) (Schofield, J.) (“HSBC”); Royal Park v. BNY Mellon, 2017 WL

3835339 (S.D.N.Y. Aug. 30, 2017) (Woods, J.); Royal Park v. Deutsche Bank, 2017 WL

1331288 (S.D.N.Y. Apr. 4, 2017) (Nathan, J.) (“Deutsche Bank”); Kcehowski Decl., Ex. 1

(BlackRock v. U.S. Bank, 14-cv-09401 (S.D.N.Y. Jan. 31, 2018) (Gardephe, J.) (“U.S. Bank

Tr.”)). Royal Park’s claims demand “individualized inquiries [that] predominate over issues

common to the class.” R&R at 24. The claims of its proposed class—all former and current

noteholders in two different trusts—“differ by jurisdiction, time period, ownership and

assignment histories, affirmative defenses, and damages.” Id.

       Judge Netburn correctly identified three individualized inquiries that predominate. First,

“[t]he fact-intensive individualized inquiry necessary to determine standing and class

membership would undermine any economies achieved by class treatment.” HSBC, 2018 WL

679495, *5. The RMBS notes at issue have been actively traded, and there is no way to

distinguish investors with standing from investors without standing absent individualized

hearings. “‘[T]he fact-finder would have to look at every class member’s [transaction]

documents to determine who did and did not have a valid claim,’ thereby defeating predomin-

ance.” R&R at 28 (quoting In re Petrobras Secs. Litig., 862 F.3d 250, 274 (2d Cir. 2017)).

       Second, Wells Fargo’s statute of limitations defenses also require the Court to make

“extensive, individualized, fact-based inquiries.” R&R at 29-30. Investors in the two trusts at

issue come from across the country and world, and “[t]o ascertain whether any given class

member’s claim is timely, the Court would have to determine the holder at the time the claim
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 11 of 36



accrued, that certificateholder’s residency, and the statute of limitations in the applicable

jurisdiction.” HSBC, 2018 WL 679495, at *6. “[T]he limitations defenses will,” as Judge

Netburn held, “vary from class member to class member.” R&R at 29-30; U.S. Bank Tr. 49-55.

       Third, Royal Park has no way to determine the fact of injury, causation, or damages on a

classwide basis. R&R at 30-31. Royal Park has proposed no classwide damages methodology at

all, let alone one that fits the facts. A “damages model [that] fails to correspond to [its] theory of

liability . . . provides another basis for denying Plaintiff[’s] motion.” U.S. Bank Tr. at 59:3-7.

As Judge Netburn reasoned, under the relevant facts here, “determining by how much, and why”

holders were harmed “will again engender an individualized inquiry.” R&R at 31.

       By contrast, the only common question Judge Netburn found was “whether Wells Fargo

breached certain provisions of the underlying agreements.” R&R at 19. This question does not

predominate. It is not even substantial enough to prove Royal Park’s affirmative liability case,

and it fails to account for any defenses. Moreover, even if satisfying the “low hurdle” of

commonality, id. at 18, the issue of whether Wells Fargo breached the governing agreements still

raises numerous individual questions of its own, given the distinct trusts and holdings at issue.

       Judge Netburn also correctly found superiority not met. The individualized questions

that defeat predominance create significant manageability problems as well. As Royal Park

admits, “[a]s predominance goes, so goes manageability.” Royal Park Br. Supporting Rule 72

Obj. (“RP Br.”) at 19. Moreover, the sophistication of class members and the individual and

novel claims they present further preclude superiority. This Court should adopt Judge Netburn’s

R&R and, consistent with all other courts addressing these issues, deny certification.

                                           ARGUMENT

       Although Royal Park suggests otherwise, 28 U.S.C. § 636(b)(1) “permit[s] whatever

reliance a district judge, in the exercise of sound judicial discretion, cho[o]se[s] to place on a

                                              -2-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 12 of 36



magistrate’s proposed findings and recommendations.” United States v. Raddatz, 447 U.S. 667,

676 (1980). To the extent an objecting party makes only conclusory arguments, “the Court will

review the Report strictly for clear error,” not de novo. DiPilato v. 7-Eleven, Inc., 662 F. Supp.

2d 333, 339 (S.D.N.Y. 2009). It also is “disfavored . . . to review new evidence or arguments” in

objections, as doing so “would reduce the magistrate’s work to something akin to a meaningless

dress rehearsal.” In re Consol. RNC Cases, 2009 WL 130178, at *10 (S.D.N.Y. Jan. 8, 2009). 1

        Royal Park, as the “party seeking class certification[,] bears the burden of establishing by

a preponderance of the evidence that each of Rule 23’s requirements have been met.” Johnson v.

Nextel Commc’ns Inc., 780 F.3d 128, 137 (2d Cir. 2015). Rule 23 “does not set forth a mere

pleading standard,” and “evidentiary proof” is required. Comcast Corp. v. Behrend, 569 U.S. 27,

33 (2013). The Court cannot certify a class unless it “is satisfied, after a rigorous analysis,” that

the Rule’s requirements are met. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011).

I.      JUDGE NETBURN CORRECTLY CONCLUDED THAT A CLASS CANNOT BE
        CERTIFIED BECAUSE INDIVIDUAL ISSUES PREDOMINATE.

        The R&R should be adopted because, contrary to Royal Park’s suggestion, RP Br. at 1,

Judge Netburn made the right comparisons and correctly held that “individual inquiries predom-

inate over issues common to the class.” R&R at 23-24, 14. Predominance “is a core feature of

the Rule 23(b)(3) class mechanism, and is not satisfied simply by showing that the class claims

are framed by the common harm suffered by potential plaintiffs.” Petrobras, 862 F.3d at 271.

        A.       Extensive individual inquiries are needed to determine Article III standing.

        Individual questions of standing and claim ownership defeat predominance. See R&R at


        1
            For this reason, Royal Park’s submission of new evidence, not presented to Judge Netburn, is improper.
E.g., Wood Decl., Exs. A-E, H-J. Nor can it properly submit via attorney declaration fact testimony beyond
counsel’s personal knowledge. See Wood Decl. ¶¶ 4-8; U.S. v. Maldonado-Rivera, 922 F.2d 934, 972 (2d Cir.
1990). Wells Fargo also has not waived any arguments on class certification. RP Br. at 3, n.2 As the prevailing
party, it had no obligation to object. See Wright & Miller, 15A Fed. Prac. & Proc. § 3901.1 (2d ed. 2017);
Vanwinkle v. U.S., 645 F.3d 365, 371 (6th Cir. 2011); Yeatts v. Angelone, 166 F.3d 255, 263 n.5 (4th Cir. 1999).


                                                    -3-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 13 of 36



24-29. “[T]he Court of Appeals has made clear that ‘no class may be certified that contains

members lacking Article III standing.’” Deutsche Bank, 2017 WL 1331288, at *10 (quoting

Denney v. Deutsche Bank AG, 443 F.3d 253, 263 (2d Cir. 2006)). Here, Judge Netburn rightly

found—just as Judge Schofield—that “[t]he individualized inquiries required to ensure that all

class members have Article III standing overwhelm any” common questions. R&R at 24.

        Common law contract and trust claims, like those brought by Royal Park, accrue to

holders “at the time of the breach.” Ely Cruikshank Co. v. Bank of Montreal, 615 N.E. 2d 985,

986-87 (N.Y. 1993); see ACE Secs. Corp. v. DB Structured Prods., Inc., 36 N.E. 3d 623, 628

(N.Y. 2015). Thus, a holder that neither owned its certificate at the time of the alleged breaches,

nor was assigned or transferred the right to sue for those breaches, has no claim, lacks Article III

standing, and cannot be part of the class—as Royal Park admits. Deutsche Bank, 2017 WL

1331288, at *6-8, 10 2; ECF 382 at 4 (admissions). A “class member must have the right to sue.”

R&R at 28. “If a current or former holder . . . does not . . ., it does not have Article III standing

because it has no claim upon which it can recover.” Id.; see HSBC, 2018 WL 679495, at *3.

        Royal Park, however, has no “class-wide proof of litigation rights,” and without such

proof, a highly individualized transaction-by-transaction review and choice-of-law analysis is

required to determine who has standing. R&R at 28; see also Petrobras, 862 F.3d at 274. When

an RMBS certificate is sold under N.Y. Gen. Oblig. Law § 13-107, accrued claims “for damages

against the trustee” automatically transfer to the buyer, depriving the seller of standing, unless

“expressly reserved in writing.” But “New York is the only state to have enacted such a

provision for the automatic assignment of bondholders’ claims.” Racepoint Partners, LLC v. JP

Morgan Chase Bank, 2006 WL 3044416, at *4 (S.D.N.Y. Oct. 26, 2006); see Bluebird Partners,


        2
          Although decided before Petrobras, the logic and rationale of Judge Nathan’s opinion apply equally to
the predominance inquiry under Petrobras. See HSBC, 2018 WL 679495, at *4 & n.2.


                                                   -4-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 14 of 36



L.P. v. First Fidelity Bank, N.A., 767 N.E. 2d 672, 675 n.1 (N.Y. 2002). Other jurisdictions

generally require an assignor, consistent with that jurisdiction’s common law, “to ‘manifest an

intention to transfer’ . . . a litigation right or claim.” Deutsche Bank, 2017 WL 1331288, at *7.

        Given this conflict, an individualized multi-step process is necessary to determine who

has the litigation rights to pursue which breaches. First, the Court must identify and trace each

transaction in the chain of ownership between the date of each alleged breach and the present.

See id. Second, the Court must analyze each transaction in that chain to determine the law

governing the transactions. Id. Then, the Court must “apply the law relevant to each transaction

to determine whether claims were assigned with the transfer of certificates or retained by the

seller.” HSBC, 2018 WL 679495, at *4-5. Each step involves innumerable individual inquiries.

        Tracing RMBS ownership requires “highly detailed and individualized inquiry.” R&R at

25-27; Deutsche Bank, 2017 WL 1331288, at *6. RMBS certificates lack unique identifiers, so

“one cannot distinguish the holdings of two or more holders within the same tranche,” R&R at

25, which can represent hundreds of millions of dollars each. ECF 383-5 (Cohen-Cole Rep.) at

Ex. 5. Holdings are also fractured and combined in sales (ECF 383-4 (Dolan Rep.) ¶¶ 45-56; see

also Brecher v. Republic of Argentina, 806 F.3d 22, 26 (2d Cir. 2015)), and there is “no central

repository of trade history to allow one to follow changes in ownership over time.” ECF 383-4

¶ 29. Certificates are also “not held directly . . . by investors,” but rather by clearing agencies

such as Depository Trust Company (“DTC”), on behalf of various “participant[s],” whose own

customers (or their customers) are the ultimate investors. Deutsche Bank, 2017 WL 1331288, at

*6. “This ‘layered nature’ of Certificate ownership . . . compounds the challenge of identifying

. . . all those who have ever ‘held’ Certificates . . . without resort to individualized inquiries.”

Id.; ECF 383-4 ¶¶ 32-41. Notably, Royal Park does not deny any of these features of RMBS.




                                              -5-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 15 of 36



       After tracing the chains of ownership from each alleged breach to the present, the Court

must then apply New York’s fact-intensive “center of gravity” choice-of-law test to each

transaction to determine what law applies—another highly individualized inquiry. See Lazard

Freres & Co. v. Prot. Life Ins. Co., 108 F.3d 1531, 1538-39 (2d Cir. 1997). The test looks to a

“spectrum of significant contacts,” including places of contracting, negotiation, and performance,

location of subject matter, and residence of parties. See id. Here, the undisputed record shows

hundreds of transactions with investors both in and outside of New York, in dozens of U.S. and

foreign jurisdictions—and that record is based on incomplete trade data, accounting for only a

fraction of total trades. See ECF 383-6 No. 41; ECF 383-4 ¶¶ 38, 63 fig. 4; ECF 360-6 ¶ 48.

These trades involve significant contacts outside of New York, requiring individualized inquiry

to identify what law governs the many sales at issue. HSBC, 2018 WL 679495, at *4-5.

       Then, after identifying each past transaction and the law that applies to it, the “Court

would have to apply that law to determine whether claims were assigned along with the

Certificates or retained by the seller.” Deutsche Bank, 2017 WL 1331288, at *7. To do so, the

Court would need to examine the evidence on each transaction and assess whether it “was

sufficient” under the applicable law to transfer claims. Phoenix Light v. U.S. Bank, 2015 WL

2359358, at *2 (S.D.N.Y. May 18, 2015). And “if the Court determined that the seller did not

pass on the rights, the Court would have to trace the chain of assignment until it unearthed the

party that did retain the rights.” R&R at 28; ECF 383-9 (Dolan Dep.) at 260:23-261:23.

       These individualized inquiries are apparent in Royal Park’s own claims. Royal Park

alleges that, pursuant to N.Y. Gen. Oblig. Law § 13-107, it “obtained all the rights and causes of

action against Wells Fargo held by all of the previous holders of [Royal Park]’s RMBS.” Am.

Compl. ¶ 32. Royal Park, however, has no evidence that New York law applies to its

purchases—it is a Belgian entity that acquired its certificates from a Cayman CDO through an

                                            -6-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 16 of 36



auction process it undertook from Belgium. ECF 383-10 (30(b)(6) Dep.) at 112:8-127:6, 131:9-

19. Royal Park concedes that the documents governing its purchases do not assign it any

litigation rights or choose New York law to govern the sales. See id. at 127:18-128:24; ECF

383-28 at 200:11-16. Royal Park also provides no evidence that the Cayman CDO acquired the

claims of its sellers. Notably, it took more than three years of discovery, including numerous

disputes requiring Court intervention (e.g., ECF 110, 188), to develop all these facts, and Royal

Park’s standing remains unresolved, showing how fact intensive any standing analysis would be.

       Similar individualized inquiries would be necessary for each class member. Putative

class members Commerzbank AG and IKB International, S.A., for example, have brought their

own individual lawsuits against Wells Fargo alleging that they acquired accrued claims of prior

holders in a trust at issue here (ABFC 2006-OPT1), but also retained accrued claims when they

later sold their interests. See ECF 383-11 (Commerzbank Compl.) ¶¶ 17-20; ECF 383-12 (IKB

Compl.) ¶¶ 9-12; ECF 383-4 ¶¶ 75-85. Other past holders—including Royal Park in another

case—have also sued trustees claiming retained litigation rights. See, e.g., Deutsche Bank, 2017

WL 1331288, at *7; FDIC v. U.S. Bank, No. 15-cv-06570 (S.D.N.Y. Aug. 19, 2015); FDIC v.

BNY Mellon, No. 15-cv-6560 (S.D.N.Y. Aug. 19, 2015); Phoenix Light, 2015 WL 2359358, at

*2 & n.3. Individual inquiry into each transaction is needed to identify all holders and assess

whether each current and former holder acquired or retained its claims—and the corresponding

lack of standing of its counterparties. See R&R at 20-21; ECF 383-4 (Dolan Rep.) ¶¶ 70-85.

       For these reasons alone, the Court should adopt Judge Netburn’s recommendation that

class certification be denied. Royal Park raises three challenges on standing, but all fail.

               1.      The need to prove standing individually defeats predominance.

       Royal Park first argues that “courts routinely reject the notion that the standing of absent

class members is sufficient to defeat predominance.” RP Br. at 8-9. But as the Second Circuit

                                             -7-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 17 of 36



held just last year, “classes that require highly individualized determinations of member

eligibility,” like the one proposed here, run afoul of predominance. Petrobras, 862 F.3d at 268;

see Myers v. Hertz Corp., 624 F.3d 537, 550 (2d Cir. 2010) (“common policy” was “clearly less

substantial” than “whether plaintiffs were legally entitled” to recovery); Augustin v. Jablonsky,

2001 WL 770839, at *10 n.5 (E.D.N.Y. Mar. 8, 2001) (no certification due to “the spectre of

individual standing determinations”); HSBC, 2018 WL 679495, at *3-6. This is particularly true

where, as here, “different jurisdictions’ laws” must be applied. Johnson, 780 F.3d at 148.

       Royal Park’s inapposite precedent from outside the Second Circuit does not change this

result. RP Br. at 8-9. The sole issue in the federal securities fraud case Freeland v. Iridium

World Commc’ns, Ltd., 233 F.R.D. 40, 44 (D.D.C. 2006), was whether class members’ stock

shares (not RMBS) were attributable to a registration statement, a question arising under a

uniform federal standard that did not require transaction-by-transaction choice-of-law analysis.

Similarly inapposite, Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1123 (9th Cir. 2017), did

not analyze predominance at all and was a simple class of oil consumers, with no secondary

market, trading, or assignments of rights. Briseno also does not amend the Second Circuit’s

holding in Petrobras that “individualized determinations of member eligibility” and “plaintiffs’

ability to offer proof of membership” must be considered in predominance. 862 F.3d at 268-69.

               2.      Trading records lack sufficient information to avoid individual
                       inquiries, negating—not supporting—predominance.

       Royal Park next argues that “the availability of trading records strongly support[s]

predominance,” again analogizing to securities fraud cases. RP Br. at 10-12. Courts, however,

have universally rejected analogizing RMBS trustee cases to securities fraud cases because

liability is far more individualized in trustee cases. See, e.g., PABF v. BNY Mellon, 775 F.3d

154, 162 (2d Cir. 2014) (“In contrast to [cases] where the defendants’ alleged Securities Act



                                            -8-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 18 of 36



violations inhered in making the same misstatements across multiple offerings,” a trustee’s

“alleged misconduct must be proved loan-by-loan and trust-by-trust”); ECF 273 at 12 (fraud

“require[s] a critical mass of breaching loans rather than loan-specific breaches”); see also

Langbecker v. Elec. Data Sys. Corp., 476 F.3d 299, 315 (5th Cir. 2007) (“Unlike a securities

fraud lawsuit, in which class members have a uniform purpose . . ., here the goal is to second-

guess judgments . . . involving a multitude of considerations over a period of years.”). Securities

fraud claims are also “not automatically assigned to a subsequent purchaser upon the sale of the

underlying security,” and do not implicate the chain of ownership issues here. Bluebird

Partners, LP v. First Fidelity Bank, N.A. N.J., 85 F.3d 970, 974 (2d Cir. 1996); see Deutsche

Bank, 2017 WL 1331288, at *6. These differences between the securities fraud cases on which

Royal Park relies and RMBS trustee cases make tracing claims here far more complicated, if not

impossible. ECF 383-4 (Dolan Rep.) ¶¶ 27-85. As Judge Nathan aptly put it: “Determining a

particular aftermarket investor’s standing to assert claims under [the Securities Act] is, at least

comparatively, a straightforward proposition.” Deutsche Bank, 2017 WL 1331288, at *6.

       Royal Park’s claim that it “subpoenaed trading records showing the purchase and sale of

beneficial ownership interests in the certificates” is equally unavailing. RP Br. at 11-12. The

trade records, instead, demonstrate precisely why Judge Netburn was correct. Royal Park

subpoenaed DTC and 26 participants for documents identifying beneficial owners of the subject

RMBS, but DTC’s response confirmed that it cannot identify “the beneficial owners of the

subject securities.” ECF 383-13 (8/10/15 DTC Letter). And what Royal Park obtained when it

then subpoenaed some DTC participants was insufficient to identify ownership history,

governing law, or assignments. ECF 383-4 (Dolan Rep.) ¶¶ 24, 34, 42-85. Royal Park’s own

expert testified that the subpoenaed records are insufficient to “ascertain the dates for every




                                             -9-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 19 of 36



transaction,” ECF 383-8 at 26:17-25; “attempt to establish a chain of ownership,” id. at 69:9-21;

“identify any information . . . that relates to assignment of claims,” id. at 70:6-18; or “determine

whether [a holder] continued to hold this position beyond the end of 2008,” id. at 294:6-300:3.

The data only “sometimes provided” location, id. at 48:7-15, and could be “anonymized,” id. at

50:12-51:13. Judge Netburn thus correctly found that trade records “do[] not show the actual

beneficial owners of the notes”—a conclusion ignored by Royal Park. R&R at 26.

       Royal Park’s newly-attached trade records only further illustrate the point. See Wood

Decl., Exs. A-D. Initially, Royal Park waived any argument relying on these new records

because it did not present them to Judge Netburn. See Consol. RNC, 2009 WL 130178, at *10.

Moreover, the records are a single snapshot in time and list only limited information like dates

and numerical codes. ECF 383-4 (Dolan Rep.) ¶¶ 42-72. Royal Park does not explain how all

current and former investors and their litigation rights can be deduced from the records, with

good reason—any explanation would only underscore the individualized inquiries needed. See

id. ¶ 24 (“impossible without individualized inquiries.”). As Judge Nathan held, even if “all

holders and former holders of Certificates could feasibly be identified with additional data,”

there is “no evidence that such an [] exercise would not require individualized hearings.”

Deutsche Bank, 2017 WL 1331288, at *8.

               3.      Questions of assignment of litigation rights are not hypothetical.

       Finally, Judge Netburn’s concerns relating to assignments are not “hypothetical,” as

Royal Park suggests. RP Br. at 13. Judge Netburn correctly held that it is “common to divorce”

litigation rights for accrued claims from the underlying RMBS (R&R at 24), as that is what

happens when neither N.Y. Gen. Oblig. Law § 13-107 nor an express assignment applies to a

transfer, see supra 4-5. By defining the class to include former holders, Royal Park itself

acknowledges that some former holders retained their litigation rights. Indeed, in other trustee

                                            -10-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 20 of 36



actions, Royal Park and others have sued as former holders. Deutsche Bank, 2017 WL 1331288,

at *7 (“Royal Park . . . sold some or all of its holdings under a contract by which it expressly

retained its litigation rights.”); see supra at 7. For such investors to have standing, they must

take the position that litigation rights have been divorced from the current ownership interests.

         Royal Park also mischaracterizes the threshold issue of standing as an issue of “damages”

or “affirmative defenses.” RP Br. at 14. However, as Judge Netburn correctly held (and Royal

Park notably does not challenge), the ownership of litigation rights goes to a class member’s

“Article III standing” and its very right to be in court. R&R at 24; supra 3-5. These

individualized issues distinguish Royal Park’s claims from those in Tyson Foods, Inc. v.

Bouaphaekeo, 136 S. Ct. 1036, 1049-50 (2016). That case did not involve individualized issues

of Article III standing, assignments of litigation rights, or fact-intensive conflicts of laws relating

to those assignments. Royal Park also attempts to distinguish Mazzei v. Money Store, 829 F.3d

260, 272 (2d Cir. 2016), by arguing that “there was no apparent basis on which the court or the

parties could have determined which members of the” class had loans owned by the defendant.

RP Br. at 14. But that is equally true here, as Judge Netburn concluded (R&R at 27-29), and the

case controls. As explained (supra 8-10), Royal Park’s documents provide no way to discern

who owns the right to sue for what breach. See HSBC, 2018 WL 679495, *3. 3

         B.       Wells Fargo’s statute of limitations defenses are highly individualized.

         Judge Netburn also correctly concluded that individualized statute of limitations defenses

“predominate over any common issues shared by the class.” R&R at 30. A class action cannot

“abridge . . . any substantive right” to litigate individual defenses, such as statutes of limitations.


         3
           Royal Park’s settlement cases are irrelevant (RP Br. at 12 n.6, 14-15 (citing cases)), as the parties in those
cases amicably resolved and therefore mooted individualized issues, including damages, and manageability is not at
issue in the settlement context as it is for the litigation here. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620
(1997).


                                                     -11-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 21 of 36



Wal-Mart, 564 U.S. at 367. Contrary to Royal Park’s contentions (RP Br. at 15-16), the Second

Circuit has held that certification is improper where “plaintiffs have offered no reliable means of

collectively determining how many class members’ claims are time barred.” McLaughlin v. Am.

Tobacco Co., 522 F.3d 215, 232-34 (2d Cir. 2008); Moskowitz v. La Suisse, 282 F.R.D. 54, 62

(S.D.N.Y. 2012); see also Myers, 624 F.3d at 551 (holding “there is no reason the district court

ought to have given the ‘defense’ less weight in determining . . . predominance”).

        The statute of limitations questions in this case require “extensive, individualized, fact-

based inquiries.” R&R at 29-30; see U.S. Bank Tr. at 49:10-55:14; HSBC, 2018 WL 679495, at

*6. Purported holders are in no fewer than fourteen states, D.C., and thirteen foreign countries.

ECF 383-4 ¶¶ 38, 63 fig. 4; ECF 383-6 No. 41. As Judge Netburn found and Royal Park does

not contest, New York’s borrowing statute applies and requires claims brought by non-New

York plaintiffs to be timely under the statutes of limitations of both New York and the

jurisdiction where they accrued. 4 R&R at 29-30; N.Y. C.P.L.R. § 202; 2138747 Ontario, Inc. v.

Samsung C&T Corp., 144 A.D. 3d 122, 126-27 (N.Y. App. Div. 2016). Thus, Wells Fargo’s

limitations defenses require determining each class member’s residence—an issue requiring

“evaluation of several factors” (Kanowitz v. Broadridge Fin. Sol., Inc., 2014 WL 1338370, at *9

(E.D.N.Y. Mar. 31, 2014))—and each claim’s place of accrual, i.e., where the breach’s economic

impact was felt. See Global Fin. Corp. v. Triarc Corp., 715 N.E. 2d 482, 485 (N.Y. 1999).

        Notably, the statute of limitations inquiry here is not only a matter of identifying and

applying many different limitations through this fact-intensive choice-of-law inquiry. Rather,

the Court will need to “trace the note ownership to identify who the noteholder was at the time

the claim accrued” to determine what limitations applies. U.S. Bank Tr. at 52:5-53:3. Assigned


        4
          The borrowing statute applies when the trust documents choose New York law. See Ontario, 144 A.D.
3d at 126-27; Lehman Bros. Holdings, Inc. v. Univ. Am. Mortg. Co., LLC, 660 F. App’x 554, 559 (10th Cir. 2016).


                                                 -12-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 22 of 36



claims are governed by “the statute of limitations of the jurisdiction in which the claim accrued

to the assignor.” R&R at 30 (quoting IKB Int’l S.A. v. Bank of Am., 2014 WL 1377801, at *6

(S.D.N.Y. Mar. 31, 2014)); see In re Countrywide Fin. Corp. MBS Litig., 2014 WL 3529677, at

*5-6 (C.D. Cal. July 14, 2014) (dismissing Royal Park’s claims under assignor’s limitations).

The Court would have to identify the original assignor of every claim asserted by every current

holder, requiring it to “piec[e] together multiple sales and periods of ownership for just one

investor, a daunting task given the lack of unique identifiers and the piecemeal trading . . . of the

RMBS at issue.” R&R at 30; see HSBC, 2018 WL 679495, at *6; U.S. Bank Tr. at 50:7-55:10.

        Royal Park’s only argument on this point is that “Wells Fargo has never established that

it has a meritorious statute of limitations defense.” RP Br. at 25. This improperly tries to shift

the burden of proof. U.S. Bank Tr. at 54:15-55:10 (observing that it “is not Defendant’s burden

to show that . . . jurisdictions’ limitations laws pose an insuperable obstacle to [] certification”).

In any event, Royal Park ignores that both this Court and Judge Koetl spent dozens of pages

analyzing the limitations applicable to putative class member Commerzbank, finding that

“[d]iscovery may prove Defendant’s timeliness challenge meritorious.” ECF 291 at 72-79;

Commerzbank AG v. Deutsche Bank, 234 F. Supp. 3d 462, 469-73 (S.D.N.Y. 2017). In doing so,

the Court relied on Royal Park’s own argument that “Wells Fargo’s statute of limitations defense

. . . involves factual questions as to when and against whom the claims accrued.” ECF 143 at 14.

        More importantly, Royal Park does not contest the factual predicates that establish the

merit of Wells Fargo’s limitations defenses. Royal Park has alleged breaches by Wells Fargo

occurring as far back as July 2007 (Kcehowski Decl., Ex. 2 (10/30/17 Am. Resps.) at No. 3), yet

Royal Park did not file this action until more than seven years later, in December 2014. Am.

Compl. ¶ 75; ECF 383-6 No. 74. Investors are from states with 3-to-5 year statutes of limitations




                                             -13-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 23 of 36



for contract claims, including but not limited to Delaware (10 Del. C. § 8106), New Hampshire

(N.H. RSA § 508:4), North Carolina (N.C. Gen. Stat. § 1-52), California (Cal. Civ. Proc. Code

§ 337), Pennsylvania (42 Pa. Cons. Stat. § 5525), Texas (Tex. Civ. Prac. & Rem. Code §

16.004), and Florida (Fla. Stat. § 95.11). ECF 383-4 ¶ 38. Limitations for breach of trust also

vary by state. E.g., 42 Pa. Cons. Stat. § 5524 (2 years). Investors are from foreign countries,

too, with both shorter limitations and different accrual and tolling rules. ECF 383-4 ¶¶ 38, 63.

Claims accruing in 2009 or 2010 or even 2011 are thus time-barred as to many investors, unless

saved by tolling rules, which also vary. These fact- and case-specific inquiries predominate. 5

         C.       Royal Park has not shown injury, causation, or damages classwide.

         Judge Netburn also rightly concluded that individual damages issues defeat class

certification. See R&R at 30-31. Royal Park’s one-page, conclusory objection on this point

misstates both the law and facts. See RP Br. at 22. On the law, Royal Park is wrong that

individualized damages questions never bar class certification. See, e.g., McLaughlin, 522 F.3d

at 232; Hughes v. Ester C Co., 317 F.R.D. 333, 356 (E.D.N.Y. 2016) (“Plaintiffs have not

demonstrated that damages are calculable on a classwide basis and therefore individual questions

of fact or law predominate.”). Royal Park’s own lead case holds that individualized damages

issues are a “factor that we had to consider” in the predominance analysis. Roach v. T.L. Cannon

Corp., 778 F.3d 401, 405 (2d Cir. 2015) (alterations omitted).

         Moreover, Royal Park’s argument ignores that its failures here go beyond damages

calculations, to proving causation and the fact of injury. A plaintiff’s “inability to prove class

wide injury through common evidence is, alone, grounds for denying Rule 23(b)(3) certification


         5
           Royal Park’s limitations cases (RP Br. at 15-16) are distinguishable; none involved tracing assigned
claims and assignor statutes of limitations. U.S. Bank Tr. at 52:5-55:10 (holding court must trace ownership “to
determine whether each individual claim is time-barred . . . no simple task”). Nor did they involve “limitations
periods [that] vary widely across jurisdictions.” Id. at 53:4-54:4.


                                                   -14-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 24 of 36



based on a lack of predominance.” Vaccariello v. XM Satellite Radio, Inc., 295 F.R.D. 62, 68-

69, 74-76 (S.D.N.Y. 2013); see Newton v. Merrill Lynch, 259 F.3d 154, 187 (3d Cir. 2001);

UFCW Local 1776 v. Eli Lilly & Co., 620 F.3d 121, 134 (2d Cir. 2010). The class is limited to

holders who “were damaged as a result of” Wells Fargo’s conduct, R&R at 4, making causation

and injury elements of class membership. 6 See ECF 397 (RP Reply) at 13 (admitting holders

without losses “would not be Class members by definition”). There is no dispute that individual

investors have experienced significantly varied performance over time—some with no losses of

principal or interest, and others seeing increases in value, benefitting from Wells Fargo’s alleged

inaction. R&R at 31; ECF 383-5 (Cohen-Cole Rep.) ¶¶ 57-64; ECF 383-4 (Dolan Rep.) ¶¶ 107-

18. Accordingly, to determine if Wells Fargo allegedly caused any particular holder injury—as

opposed to only trust-level losses—Royal Park must show, among other things, what actions

Wells Fargo should have taken and when, what added cash flows would have resulted to the

trust, and what specific holders owned at that time and would have received those cash flows or

other alleged benefits, if any. ECF 383-15 (James Rep.) ¶ 63. Yet Royal Park has no method to

assess impacts to holders classwide, and its expert (and sole evidence on injury), in fact, admitted

he did not assess if “any particular investors . . . have been damaged by Wells Fargo’s conduct.”

ECF 383-8 at 46:6-18, 43:18-24. Answering these questions demands individual analysis that

“will inevitably overwhelm questions common to the class.” Comcast, 569 U.S. at 34.

         The rest of Royal Park’s damages argument is conclusory, and clear error review applies.

DiPilato, 662 F. Supp. 2d at 339. Royal Park states without analysis that it “conclusively estab-

lished that damages are calculable on a class-wide basis.” RP Br. at 16. To the contrary, Judge


         6
            The “were damaged” element of plaintiffs’ class definition also creates an impermissible fail-safe class.
See, e.g., Ruiz v. Citibank, N.A., 2015 WL 4629444, at *7 (S.D.N.Y. Aug. 4, 2015) (Failla, J.). Alternatively, if the
element is merely intended to ensure that the class “only contains those who have standing to sue,” R&R at 16, then
it leads to all the challenges of identifying class members with standing set out above. See supra § I.A.


                                                    -15-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 25 of 36



Netburn held that Royal Park’s expert “has not shown that any single model could” assess class-

wide damages, and that “his damages methodology require[s] individualized determinations.”

R&R at 30-31. That holding was not clearly erroneous but amply supported by the record.

       Royal Park’s damages approach fails in at least two ways. First, Royal Park’s expert

failed to “demonstrate in adequate detail how his proposed ‘approaches’ would be used” to

determine damages. Weiner v. Snapple Bev. Corp., 2010 WL 3119452, at *7 (S.D.N.Y. Aug. 5,

2010). Royal Park’s expert admitted he “ha[s] not performed a damages analysis,” or

“committed to any particular approach.” ECF 383-8 at 95:5-8, 103:25-104:18. He also did not

rule out “us[ing] different approaches for different class members.” ECF 386-3 at 105:5-14.

       Second, Royal Park’s approach violates the rule that a methodology must “measure

damages resulting from the particular . . . injury on which petitioners’ liability . . . is premised.”

Comcast, 569 U.S. at 35. In the RMBS trustee context, this requirement means that an

appropriate model of damages would, at a minimum, “have to account for”:

       (1) whether and when [the trustee] discovered the breaches; (2) whether the seller
       would have been in the financial position to repurchase or substitute the loan had
       [the trustee] acted; (3) if not, whether litigation would have been appropriate;
       [and] (4) for any litigation, whether it would have succeeded and whether any
       damages would have been collectible.

U.S. Bank Tr. at 58-59. Royal Park’s expert did not analyze what Royal Park must show to

establish breach or causation here. See ECF 383-8 at 86:23-88:11. He acknowledged that

“assumptions would be required” for his approach, but that he “ha[d] not developed any specific

assumptions regarding the damages model in this case,” id. at 96:12-97:22, and did not even

“have a specific understanding of what the amount or timing of those inputs would be” or how

they would be generated. Id. at 125:7-126:15, 81:3-8, 97:23-99:4. He did not analyze the actual

repurchase process, along with its costs and risks, see id. at 163:13-179:9, and did not “perform[]

any analysis with respect to any particular foreclosure process,” ECF 386-3 at 144:22-154:2. As

                                             -16-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 26 of 36



“[p]laintiffs’ damages model does not address any of these issues,” it “runs afoul of Comcast,

and thus provides another basis for denying . . . certification.” U.S. Bank Tr. at 58:20-59:7.

         Moreover, Royal Park’s approach was limited to aggregate trust-level damages, with no

method to translate damages to investor-level damages, even though investors are the class

members. ECF 383-8 at 190:25-193:3, 182:3-20. By ignoring that step, Royal Park fails to

establish causation to any investor and impermissibly “mask[s] the prevalence of individual

issues,” McLaughlin, 522 F.3d at 232, such as when breaches and damages should be assessed,

ECF 386-3 at 181:11-186:10, which investors were injured and entitled to recovery, id. at 99:6-

100:11, 125:7-126:15, 262:5-18, or even what remedies Wells Fargo should have pursued, ECF

383-8 at 127:8-128:25. Such untethered aggregate measures fail. See McLaughlin, 522 F.3d at

231-33; Hickory Secs. Ltd. v. Rep. of Argentina, 493 F. App’x 156, 158-60 (2d Cir. 2012).

         Royal Park does not deny that its damages approach does not yet account for these

necessary factors. It argues only that Wells Fargo’s experts did not reach their own conclusions

that damages are not calculable classwide. That misstates the record—Wells Fargo’s experts

testified repeatedly that “I don’t see how damages can be calculated on a class-wide basis.”

Kcehowski Decl., Ex. 3 (James Dep.) at 8:8-9:18; see id., Ex. 4 (Cohen-Cole Dep.) at 65:14-

68:25, 111:4-112:18. 7 In any event, Royal Park’s attempt to “shift Plaintiffs’ burden of proof

onto Defendant” is improper. U.S. Bank Tr. at 54:18-19.

         D.       Liability does not simply turn on whether Wells Fargo “breached” the
                  agreements, and the issue of breach does not predominate.

         Royal Park attempts to overcome the many individual issues above by incorrectly

asserting that “Wells Fargo’s contractual and tort liability is common to the class.” RP Br. at 7.


         7
           Royal Park’s personal attacks on Wells Fargo’s experts are also incorrect.
                                                                            The plaintiffs also voluntarily dismissed
their claims against Dr. James, conceding no wrongdoing. See N.D. Fla., Case No. 17-cv-00018 at ECF 33-1.


                                                    -17-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 27 of 36



Judge Netburn, however, identified only one common issue—“whether Wells Fargo breached

certain provisions of the underlying agreements.” R&R at 19. Breach alone is not enough to

establish liability here. Liability also requires Royal Park to prove causation and injury, see

Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank, 392 F.3d 520, 525-26 (2d Cir. 2005), as well as

inter alia negligence or willful misconduct, see, e.g., Kcehowski Decl., Ex. 7 (SASC Trust

Agreement § 6.01(c)). As discussed above (supra § I.C), Royal Park can show neither causation

nor injury on a classwide basis, so certification is improper. See UFCW, 620 F.3d at 134; see

also Myers, 624 F.3d at 549; Vaccariello, 295 F.R.D. at 68-69, 74-76.

       Even the question of breach is individualized and not common across the class, which

includes both current and former holders. Royal Park must prove all its claims “loan-by-loan

and trust-by-trust,” PABF, 775 F.3d at 162, using “loan-specific proof.” ECF 273 at 9-14. Yet,

as Wells Fargo explained in detail in its brief to Judge Netburn (see ECF 382 at 16-23), the

duties and breaches Royal Park alleges involve a ten-year period, two separate trusts, five

different loan groups, 31 unique offered securities, thousands of individual loans, different

underwriting guidelines, at least four distinct originators and warrantors, and more than eight

servicers. See ECF 383-15 (James Rep.) ¶¶ 14, 98; ECF 383-5 ¶¶ 52-56. The trusts have

materially different waterfalls and contract terms, imposing different duties and prioritizing

payments to different holders in different circumstances over time. See ECF 383-5 ¶¶ 67-70;

ECF 383-40 (exemplar differences in trust agreements). Wells Fargo’s conduct was also

individualized, given that “every transaction document is different” (ECF 383-17 (Fay Dep.) at

176:2-177:15), and issues were managed “case-by-case” (ECF 383-20 (Stinson Dep.) at 229:13-

18). These differences mean there are no “common answers apt to drive the resolution of the

litigation.” Wal-Mart, 564 U.S. at 350 (denying certification without “proof of a company-




                                            -18-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 28 of 36



wide . . . policy”); see Bd. of Trs. v. BNY Mellon, 287 F.R.D. 216, 226 (S.D.N.Y. 2012) (no

predominance for “[im]prudently” investing; each “particular . . . note” had to be analyzed). As

the Second Circuit has held, “the nature of the claims in this [RMBS trustee] case unavoidably

generates significant differences in proof . . . for each trust.” PABF, 775 F.3d at 162-63.

       Royal Park’s commonality cases all deal with challenges to a single, uniformly applicable

policy or contract. See RP Br. at 8 (citing cases). Courts, however, reject certification where, as

here, there are “different layers of contractual arrangements” impacting class members

differently over time. Wu v. Pearson Educ., Inc., 2012 WL 6681701, at *6-9 (S.D.N.Y. Dec. 21,

2012); see also Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601

F.3d 1159, 1171 (11th Cir. 2010) (“common questions rarely will predominate” if “terms vary”).

       E.      Conflicts among class members further defeat predominance and adequacy.

       While the issues Judge Netburn addressed are enough to defeat predominance, the class

conflicts Wells Fargo raised are a further basis for denying certification. “[D]isparate groups

cannot be mixed together under Rule 23(a) where the economic reality of the situation leads

some class members to have economic interests that are significantly different from—and

potentially antagonistic to—the named representatives purporting to represent them.” Valley

Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1195 (11th Cir. 2003); see Broussard v.

Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 339 (4th Cir. 1998); Free World Foreign Cars,

Inc. v. Alfa Romeo, S.p.A., 55 F.R.D. 26, 29 (S.D.N.Y. 1972). Certification is improper where

“some class members derive a net economic benefit from the very same conduct alleged to be

wrongful,” Valley Drug, 350 F.3d at 1190, or “[t]he facts . . . may bear out different legitimate

theories” of liability that impact members’ recoveries. Langbecker, 476 F.3d at 315.

       In this case, Royal Park seeks to represent “all persons and entities who held Certificates

in” 31 tranches of two different trusts, even though Royal Park claims to hold certificates in only

                                            -19-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 29 of 36



a single mezzanine tranche in each trust. Am. Compl. ¶¶ 30, 47. But every tranche is different,

see supra 18-19, and “proposed class members have different interests regarding the Trustee’s

conduct,” ECF 383-15 ¶ 115, as “trustee actions could have potentially benefitted some investors

and harmed others,” ECF 383-4 ¶ 122. Royal Park has never disputed that these conflicts exist.

       For R&W breaches, there are conflicts and, in fact, differing claims among investors

regarding how or even whether, Wells Fargo should have taken action. For example, in the

ABFC 2006-OPT1 trust, if Wells Fargo had forced repurchases in January 2009 (as Royal Park

alleges it should have), deal triggers would have shifted payments from senior to junior holders,

and holders of the senior “Class A-1 Certificates would have received $2.63M less in principal

payments . . . than they actually received as of Feb. 2017.” ECF 383-5 ¶¶ 100-01 & Ex. 12.

Other holders would have had to bear the costs of enforcement actions without any possible

share in benefits. See ECF 383-15 ¶¶ 86, 121. These holders benefitted from the inaction that

Royal Park alleges as wrongful, and a class cannot be certified with them. See Valley Drug, 350

F.3d at 1190; Duchardt v. Midland Nat’l Life Ins. Co., 265 F.R.D. 436, 449-50 (S.D. Iowa 2009).

       For Servicer EODs, Royal Park alleges that Wells Fargo failed to “take additional

actions” to deal with EODs. Am. Compl. ¶ 180. But servicing actions affect tranches differently

and often benefit some at others’ expense. See, e.g., ECF 383-22 (Amherst Rep.) at 14 (loan

modification was “most detrimental to the senior bond holders” while “the junior tranches

benefit”); ECF 383-24 (Barclays Rep.) at 10 (servicing decisions “can change the timing of the

cash flows and allocation to different tranches”). Thus, investors in different tranches have

different claims and views on basic liability issues such as what servicing actions constitute

EODs, and what action Wells Fargo should have taken. See Valley Drug, 350 F.3d at 1189-95.

       In addition to conflicts among holders in different tranches, holders of even the same

tranche at different times have different claims and are in conflict. Different holders will want to

                                            -20-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 30 of 36



assert different dates of breach and recovery. Whether a holder has a claim at all, and “the

amount each tranche receives[,] can significantly vary when different dates are utilized.” ECF

383-5 ¶¶ 95-96. Exacerbating this problem, Royal Park’s proposed class definition includes both

current and former holders, who will take opposing positions on whether N.Y. Gen. Oblig. Law

§ 13-107 applies to transfer claims to buyers. See supra 4-5. These conflicts go to the very right

to litigate and recover and defeat certification. See Langbecker, 476 F.3d at 315 (decertifying

where “date on which the stock fund became an imprudent investment” affected recovery).

II.    JUDGE NETBURN RIGHTLY FOUND SUPERIORITY WAS NOT MET.

       Royal Park also failed to prove superiority, as Judge Netburn rightly held. First, “the

individualized nature of claims in this case indicates that management of the litigation would be

difficult, if not near impossible.” R&R at 33. As Royal Park’s own cases recognize, “the issue

of manageability of a proposed class action is always a matter of justifiable and serious concern

for the trial court and is peculiarly within its discretion.” In re Visa Check Antitrust Litig., 280

F.3d 124, 141 (2d Cir. 2001). Logistics of class adjudication here are staggering. See supra § I.

       Second, the putative class members are “highly sophisticated, knowledgeable financial

institutions or wealthy private investors” with “a strong interest in individually controlling the

prosecution of their own actions.” R&R at 34. Class members’ resources and sophistication are

considered in assessing superiority because sophisticated plaintiffs can bring individual litigation

if they believe their claims are meritorious, and have a stronger interest in controlling litigation.

See Amchem, 521 U.S. at 616 (superiority weakest where class members have the “will and

ability to take care of” themselves); N.J. Carpenters Health Fund v. Residential Capital, LLC,

272 F.R.D. 160, 170 (S.D.N.Y. 2011) (“the proposed class consists of large, institutional and

sophisticated investors with the financial resources and incentive to pursue their own claims”); In

re MTBE Prods., 209 F.R.D. 323, 350 (S.D.N.Y. 2002) (no superiority where “several”

                                             -21-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 31 of 36



individual lawsuits filed); Stoudt v. E.F. Hutton & Co., Inc., 121 F.R.D. 36, 38 (S.D.N.Y. 1988)

(Rule 23 “not designed to permit large claimants . . . to strengthen their bargaining position[.]”).

       This case is a prime example of large, sophisticated class members with an interest in

controlling their own litigation. Already two individual lawsuits have been filed against Wells

Fargo by putative members of Royal Park’s class, each seeking at least $100 million under their

own theories of liability and damages. See supra 7; ECF 383-11; ECF 383-12. Other investor

suits against Wells Fargo and other RMBS trustees abound. See id.

       Royal Park’s sole attack on Judge Netburn’s finding here is a factual assertion by counsel

that certain transactions were less than $1 million. RP Br. at 21. Royal Park never presented this

“evidence” to Judge Netburn. Consol. RNC, 2009 WL 130178, at *10. Regardless, it establishes

the sophistication, interests, and resources of putative class members. For example,




                                                 . This newly-submitted “evidence” only confirms

Judge Netburn’s finding small investors do not “represent a majority of the class.” R&R at 35.

       The rest of Royal Park’s criticisms of the superiority finding likewise miss the mark.

Royal Park first mischaracterizes Judge Netburn’s rejection of superiority as based on an

improper comparison of a class action to no action at all. RP Br. at 2, 20, 22. But Judge Netburn

expressly stated that, in light of the individualized nature of the claims, “separate actions” are

                                             -22-
      Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 32 of 36



superior. R&R at 33. A situation where some class members sue and others do not—whether

due to no standing, untimeliness, or a belief they have no cause of action—is a superior

alternative to a class action under the facts here. See Benner v. Becton Dickinson & Co., 214

F.R.D. 157, 173 (S.D.N.Y. 2003) (“classes are not superior to individual adjudication,” even

though “some class members may not seek to bring an individual action against defendants”).

        Royal Park’s assertion that resolving individualized issues would be less manageable in

separate cases, RP Br. at 20, is also “pure speculation.” See Castano v. Am. Tobacco Co., 84

F.3d 734, 747-48 & n.26 (5th Cir. 1996) 8; Arch v. Am. Tobacco Co., Inc., 175 F.R.D. 469, 495

(E.D. Pa. 1997); see also In re Fosamax Prods. Liab. Litig., 248 F.R.D. 389, 403 (S.D.N.Y.

2008) (no superiority where plaintiffs “submitted no real proposal” for managing individual

issues). All the issues here—standing, assignments, timeliness, and damages—can be resolved

more concretely and efficiently in separate cases, with plaintiffs who have access to necessary

information about their ownership of the relevant RMBS. Individual cases also avoid the

conflicts of interest and the need for a classwide damages model. Indeed, several individual

cases are proceeding, and they have not caused a “judicial crisis.” Castano, 84 F.3d at 747.

        The novelty of Royal Park’s claims is another basis to conclude that a class action is not

superior, see id. (“certification of an immature tort results in a higher than normal risk that the

class action may not be superior”); Newton, 259 F.3d at 192-93 (3d Cir. 2001) (no “track

record”), as is the existence of the Lehman bankruptcy proceedings, see ECF 389 (WF Br.) at 7-

10. Here, Royal Park unfairly proposes to bind an entire class to a single court’s decision on its

novel and still-fluctuating theories of liability. See Newton, 259 F.3d at 192.



        8
          Royal Park argued to Judge Netburn that Castano “has been rejected in the Second Circuit.” ECF 397 at
10. Any Second Circuit criticism of Castano was on issues unrelated to those cited here, and the Second Circuit has
continued to cite Castano favorably in analyzing the elements of class certification. Johnson, 780 F.3d at 141.


                                                   -23-
       Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 33 of 36



III.    JUDGE NETBURN’S R&R CAN ALSO BE ADOPTED ON OTHER GROUNDS.

        Royal Park’s class can also be rejected on alternative grounds, namely:

        Typicality & Adequacy. Royal Park cannot show typicality or adequacy because it is

subject to numerous conflicts of interest and unique defenses. See Gary Plastic Packaging Corp.

v. Merrill Lynch, Pierce, Fenner & Smith, 903 F.2d 176, 180 (2d Cir. 1990), abrogated on other

grounds by Microsoft Corp. v. Baker, 137 S. Ct. 1702, 1712 & n.8 (2017). Royal Park was

created to acquire bad assets, did not purchase at arm’s length, has an uncertain chain of

ownership, adopted policies that prevented it from mitigating losses, and failed to cooperate in

discovery. See ECF 382 (WF Br.) at 31-33; R&R at 21 (such defenses “certainly problematic”).

        Numerosity. Royal Park has also not shown numerosity. See ECF 382 (WF Br.) at 28-

30. Its only evidence is its expert’s overinclusive count that admittedly was not “necessarily

representative of the numbers in the class.” ECF 383-8 at 40:5-43:17, 46:19-47:10. The “court

may not infer numerosity” from an admittedly overinclusive count. Hayes v. Wal-Mart Stores,

Inc., 725 F.3d 349, 358 (3d Cir. 2013); see Bd. of Trs., 287 F.R.D. at 223; ECF 382 at 28-30.

IV.     A LIABILITY-ONLY CLASS CANNOT RESOLVE THE INDIVIDUALIZED
        ISSUES AND WILL NOT MATERIALLY ADVANCE THE LITIGATION.

        Finally, for at least two reasons, Judge Netburn correctly concluded that Royal Park’s

proposed “liability-only” class does not resolve the individualized issues. See R&R at 35-36.

        First, Royal Park has not shown that a liability-only class would “independently meet”

predominance and superiority for the issues sought to be certified. MTBE, 209 F.R.D. at 351;

Hamilton v. Accu-tek, 935 F. Supp. 1307, 1332 (S.D.N.Y. 1996). Unlike the lone putback case

Royal Park mis-cites (RP Br. at 24-25), Wells Fargo’s liability as a trustee is not a common

issue. See supra 17-19. Causation and injury are wholly individual, and even the determination

of breach (and negligence or willful misconduct) requires individual inquiries. See id. Courts



                                            -24-
     Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 34 of 36



deny issue certification under such facts. E.g., In re Yasmin Mktg., 275 F.R.D. 270, 278 (S.D. Ill.

2011) (no liability-only class where “causation, duty of care, and reliance” were individual).

       Second, the proposed liability-only class “would not materially advance the litigation.”

McLaughlin, 522 F.3d at 234; Benner, 214 F.R.D. at 170 (“substantial individual actions . . .

would still be necessary”); MTBE., 209 F.R.D. at 351-53 (“countless individual trials . . . would

follow”). A liability-only class cannot resolve difficult questions of standing, causation, and

injury, much less defenses or damages. Courts reject liability-only classes that cannot resolve

such questions. McLaughlin, 522 F.3d at 234 (“it would not dispose of larger issues such as

reliance, injury, and damages”); Hamilton, 935 F. Supp. at 1332 (“assuming . . . defendants

collectively breached a duty, they must still establish that this breach caused each plaintiff’s

injury”). Royal Park’s own precedent recognizes as much, holding certification for liability

inappropriate in breach cases where, as here, a plaintiff “must still establish this breach caused

each plaintiff’s injury.” Jacob v. Duane Reade, Inc., 293 F.R.D. 578, 593 (S.D.N.Y. 2013).

       Unable to show that the requirements for a liability-only class are met, Royal Park states

that “a variety of case-management tools” can adjudicate individualized issues. RP Br. at 25.

Yet, Royal Park never identifies which “tools” Judge Netburn should have considered using, and

does not explain how they could efficiently and fairly resolve the problems discussed above. See

Fosamax Prods., 248 F.R.D. at 403 (“no real proposal” for managing individual issues). As

Judge Netburn rightly held (R&R at 27), and Royal Park does not now contest, no claims process

could be used because standing is a “central issue[] bearing on liability” that “cannot be deferred

until a claims-administration process.” Toldy v. Fifth Third Mortg. Co., 2011 WL 4634154, at

*3-4 (N.D. Ohio Sept. 30, 2011); ECF 382 at 12 (collecting cases); ECF 389 at 6-7.

                                          CONCLUSION

       The Court should adopt Judge Netburn’s R&R and deny class certification.

                                            -25-
    Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 35 of 36



Dated: March 7, 2018

                                         JONES DAY

                                     By: /s/ Rebekah B. Kcehowski
                                         Jayant W. Tambe, Esq.
                                         Howard F. Sidman, Esq.
                                         Tracy V. Schaffer, Esq.
                                         Jason Jurgens, Esq.
                                         JONES DAY
                                         222 East 41st Street
                                         New York, NY 10017
                                         Tel: (212) 326-3939
                                         Fax: (212) 755-7306
                                         jtambe@jonesday.com
                                         hfsidman@jonesday.com
                                         tschaffer@jonesday.com
                                         jjurgens@jonesday.com

                                         Rebekah B. Kcehowski, Esq.
                                         JONES DAY
                                         500 Grant Street
                                         Pittsburgh, PA 15219
                                         Tel: (412) 391-3939
                                         Fax: (412) 394-7959
                                         rbkcehowski@jonesday.com

                                         Attorneys for Defendant
                                         Wells Fargo Bank, N.A.
   Case 1:14-cv-09764-KPF-SN Document 464 Filed 03/08/18 Page 36 of 36



                              CERTIFICATE OF SERVICE

     I certify that on March 7, 2018, I caused the Memorandum of Law in Opposition to

Plaintiff Royal Park Investments SA/NV’s Rule 72 Objection and Motion to be served by

electronic mail on all counsel of record.




                                                 JONES DAY

                                             By: /s/ Rebekah B. Kcehowski
                                                 Jayant W. Tambe, Esq.
                                                 Howard F. Sidman, Esq.
                                                 Tracy V. Schaffer, Esq.
                                                 Jason Jurgens, Esq.
                                                 JONES DAY
                                                 250 Vesey Street
                                                 New York, NY 10281
                                                 Tel: (212) 326-3939
                                                 Fax: (212) 755-7306
                                                 jtambe@jonesday.com
                                                 hfsidman@jonesday.com
                                                 tschaffer@jonesday.com
                                                 jjurgens@jonesday.com

                                                 Rebekah B. Kcehowski, Esq.
                                                 JONES DAY
                                                 500 Grant Street
                                                 Pittsburgh, PA 15219
                                                 Tel: (412) 391-3939
                                                 Fax: (412) 394-7959
                                                 rbkcehowski@jonesday.com
                                                 Attorneys for Defendant
                                                 Wells Fargo Bank, N.A.
